                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 BRODTI INC.,                                   )
                                                )
                       Plaintiff,               )
                                                )
                v.                              )     C.A. No. 24-173 (JCB)
                                                )
 GOOGLE LLC,                                    )
                                                )
                       Defendant.               )

                NOTICE REGARDING PLACE OF TRIAL AND HEARINGS

       Pursuant to JCB-CV-77 of the Court’s Order Regulating Practice entered in the above-

captioned case, D.I. 51, Defendant Google LLC hereby provides notice that it does not consent to

hearings or trial proceeding in the Easter District of Texas, Tyler Division. Google LLC does,

however, consent to proceeding with hearings via telephone or video conference where

appropriate.

                                                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP

 OF COUNSEL:                                        /s/ Brian P. Egan
                                                    _____________________________
 Zachary M. Briers                                  Brian P. Egan (#6227)
 Heather Takahashi                                  1201 North Market Street
 Matthew Miyamoto                                   P.O. Box 1347
 Wendy Q. Xiao                                      Wilmington, DE 19899-1347
 MUNGER, TOLLES & OLSON LLP                         (302) 658-9200
 350 S Grand Ave 50th floor                         began@morrisnichols.com
 Los Angeles, CA 90071
 (213) 683-9100                                     Attorneys for Defendant

 J. Kain Day
 MUNGER, TOLLES & OLSON LLP
 601 Massachusetts Ave NW
 Washington, DC 20001
 (202) 220-1100

 June 4, 2025
                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 4, 2025, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on

June 4, 2025, upon the following in the manner indicated:

Stamatios Stamoulis, Esquire                                             VIA ELECTRONIC MAIL
STAMOULIS & WEINBLATT LLC
800 N. West Street, Third Floor
Wilmington, DE 19801
Attorneys for Plaintiff



                                                     /s/ Brian P. Egan

                                                     Brian P. Egan (#6227)
